                  Case 1:21-cr-00115-CRB-BAM Document 33 Filed 04/28/21 Page 1 of 3
AO 199A (Rev. 12/11- EDCA [Fresno]) Order Setting Conditions of Release                                           Page 1 of        3         Pages



                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                 Eastern District of California                                   FILED
                                                                                                                  Apr 28, 2021
                                                                                                              CLERK, U.S. DISTRICT COURT

UNITED STATES OF AMERICA,
                                                                                                            EASTERN DISTRICT OF CALIFORNIA

                                                                          )
                              v.                                          )
                                                                          )             Case No.      1:21-mj-00035-SAB
DARCY CALAFIORE,                                                          )


                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:             U.S. DISTRICT COURT, 2500 Tulare Street, Fresno, California
                                                                                              Place

      U.S. MAGISTRATE JUDGE Barbara A. McAuliffe in Courtroom 8 (unless another courtroom is designated)

      on                                                      May 6, 2021 at 2:00 PM
                                                                              Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, if ordered.


TO U.S. MARSHAL: DELAY RELEASE until April 29, 2021, at 10:00 a.m., at which time a
representative from Mental Health Systems Fresno First will transport defendant directly from the
Fresno County Jail to the Mental Health Systems Fresno First program.



(Copies to:       Defendant (through Pretrial)               PRETRIAL SERVICES                 US ATTORNEY           US MARSHAL)
                  Case 1:21-cr-00115-CRB-BAM Document 33 Filed 04/28/21 Page 2 of 3
 AO 199B (Rev. 09/08- EDCA [Fresno]) Additional Conditions of Release (General)                                                    Page   IJJof (I]Pages
 CALAFIORE, Darcy
 Doc. No. l:21-MJ-00035-SAB
                                               ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

 □     (6)       The defendant is placed in the custody of: Shanda Leighanne Ditto

                    Name of person or organization

         who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
         defendant at all scheduled court proceedings. and (c) to tify the court immediately in the event the defendant violates any conditions of
         release or disappears.



       (7)       The defendant must:
       0         (a) report to and comply with the rules and regulations of the Pretrial Services Agency;
       0         (b) report telephonically to the Pretrial Services Agency on the first working day following your release from
                      custody;
       0         (c) reside at a location approved by the PSO, and not move or be absent from this residence for more than 24 hrs.
                      without prior approval of PSO; travel restricted to Eastern District of California, unless otherwise approved in
                      advance by PSO;
       0         (d) report any contact with law enforcement to your PSO within 24 hours;
       0         (e) cooperate in the collection of a DNA sample;
       0         (f) not associate or have any contact with co-defendants unless in the presence of counsel or otherwise approved in
                      advance by the PSO;
       0         (g) not possess, have in your residence, or have access to a firea1m/ammunition, destructive device, or other
                      dangerous weapon; additionally, you must provide written proof of divestment of all firearms/ammunition,
                      currently under your control;
       0         (h ) submit to drug and/or alcohol testing as approved by the Pretrial Services Officer. You must pay all or part of the
                      costs of the testing services based upon your ability to pay, as determined by the Pretrial Services Officer;
       0         (i) refrain from any use of alcohol, or any use of a narcotic drug or other controlled substance without a prescription
                      by a licensed medical practitioner; and you must notify Pretrial Services immediately of any prescribed
                      medication(s). However, medical marijuana, prescribed and/or recommended, may not be used;
       0         (j) not apply for or obtain a passport or any other traveling documents during the pendency of this case;
       0         (k) execute a bond or an agreement to forfeit upon failing to appear or failure to abide by any of the conditions of
                      release. the following sum of money or designated property: An unsecured $10,000 bond, co-signed by the
                      defendant's husband, Paul Copple;
       0         (I) report any prescriptions provided by a licensed medical practitioner to the pretrial services officer within 48 hours
                      of receipt;
                 (rn) participate in the substance abuse treatment program at Mental Health Systems Fresno First detox and inpatient
                      facility, and comply with all the rules and regulations of the program. You must remain at the inpatient facility
                      until released by the pretrial services officer;
                 (n) upon completion of the residential program, you must participate in a program of medical or psychiatric
                      treatment, including treatment for drug or alcohol dependency, as approved by the pretrial services officer. You
                      must pay all or part of the costs of the counseling services based upon your ability to pay, as determined by the
                      pretrial services officer; and,

                 USMS SPECIAL INSTRUCTIONS:
                 ( o)   have your release on bond delayed until April 29, 2021, at 10:00 a.m., at which time a representative from Mental
                        Health Systems Fresno First will transport you directly from the Fresno County Jail to the Mental Health Systems
                        Fresno First program.
      Case 1:21-cr-00115-CRB-BAM Document 33 Filed 04/28/21 Page 33 of 3   3


                DARCY CALAFIORE




X



    4/28/2021

                                  BARBARA A. McAULIFFE, U.S. MAGISTRATE JUDGE
